
In re Bulot, Ursula et al.; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Civil District Court Div. D, No. 97-06178; to the Court of Appeal, Fourth Circuit, No. 2002-C-0366.
Granted. The court of appeal denied writs in this case, but went on to affirm the judgment of the trial court. Lacking appellate jurisdiction over this case (as no appeal was filed by the parties) and having declined to exercise its supervisory jurisdiction by denying the writ, the court of appeal was without jurisdiction to affirm, reverse or modify the judgment of the trial court. Accordingly, we strike from the court of appeal’s opinion any language purporting to affirm the judgment of the trial court.
